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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
    PETER P. STRZOK,                               )
                                                   )
                  Plaintiff,                       )
                                                   )      Civil Action No. 19-2367 (ABJ)
           v.                                      )
                                                   )
    ATTORNEY GENERAL MERRICK B.                    )
    GARLAND, in his official capacity, et al.,     )
                                                   )
                  Defendants.                      )
                                                   )
                                                   )
                                                   )
    LISA PAGE,                                     )
                                                   )
                  Plaintiff,                       )
                                                   )      Civil Action No. 19-3675 (TSC)
           v.                                      )
                                                   )
    U.S. DEPARTMENT OF JUSTICE, et al.,            )
                                                   )
                  Defendants.                      )
                                                   )



                JOINT STATUS REPORT AND MOTION TO EXTEND STAY

          Pursuant to the Court’s Orders of November 21, 2023 (ECF No. 122) and February 20,

2024, this case has been stayed while the parties have been engaged in mediation with the Court’s

Mediation Program.1 To date, the parties have been unable to resolve these cases, but continue to




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  The parties in Civil Action No. 19-2367 (ABJ) are Plaintiff Peter Strzok and Defendants U.S.
Department of Justice (“DOJ”); Federal Bureau of Investigation (“FBI”); Attorney General
Merrick Garland, in his official capacity; and FBI Director Christopher A. Wray, in his official
capacity. The parties in Civil Action No. 19-3675 (TSC) are Plaintiff Lisa Page and Defendants
DOJ and FBI.
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mediate in good faith. Accordingly, the parties respectfully request that the Court extend the stay

through April 5, 2024 so that the parties can continue their efforts to mediate these cases.

       The parties have been authorized to report that the mediator consents to this extension.

       If either case settles in whole or in part prior to April 5, 2024, the parties will promptly

advise the Court of the settlement by filing a stipulation. If either matter has not been resolved in

the interim, the parties propose to file a Joint Status Report on the status of the mediation by April

5, 2024.

Dated: March 15, 2024                          Respectfully submitted,

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